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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                               Civil Action No. 19-0778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.


                  DEFENDANT’S MOTION FOR EXTENSION OF TIME

       Defendant, United States Department of Commerce (“Defendant”), pursuant to Rule

6(b)(1) of the Federal Rules of Civil Procedure, respectfully requests a one-week extension of its

deadline to file its summary judgment motion and a corresponding extension of the remainder of

the briefing schedule. Good cause and extenuating circumstances exist to grant this motion.

       Defendant is working diligently to prepare its summary judgment motion but that work has

been unavoidably delayed by unanticipated circumstances. Specifically, agency counsel assigned

to this matter has advised the undersigned Assistant United States Attorney that preparation of the

agency’s declaration has been delayed since agency counsel has had to attend to a sick child.

Additionally, the undersigned Assistant United States Attorney is departing the United States

Attorney’s Office for another position and the declaration is not expected to be finalized

sufficiently in advance of that date to permit the undersigned Assistant United States Attorney to

finalize and file the motion papers. Consequently, additional time is needed for the newly assigned

Assistant United States Attorney to familiarize himself with the issues in this case and for the

agency to prepare its declaration and summary judgment motion papers. Defendant respectfully

requests that the briefing schedule be amended as follows:
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                                       Current Deadline                Proposed New Deadline

 Defendant’s        Summary              August 12, 2019                   August 19, 2019
 Judgment Motion
 Plaintiff’s Opposition and              August 26, 2019                  September 3, 2019
 Cross-Motion
 Defendant’s Opposition and            September 9, 2019                  September 17, 2019
 Reply
 Plaintiff’s Reply                     September 16, 2019                 September 24, 2019


       Defendant requests this extension in good faith and not for the purpose of delay. This is

Defendant’s second request for an extension of its deadline to file its summary judgment motion.

The undersigned Assistant United States Attorney has advised Plaintiff’s counsel of this request

and the extenuating circumstances which necessitate it. Plaintiff’s counsel has advised that

Plaintiff does not consent to the requested extension. However, no prejudice will result from the

additional one week Defendant is requesting. Defendant, therefore, respectfully requests that the

Court grant its motion for extension of time.

Dated: August 6, 2019                           Respectfully submitted,

                                                JESSIE K. LIU, D.C. Bar # 472845
                                                United States Attorney for the District of Columbia

                                                DANIEL F. VAN HORN, D.C. Bar # 924092
                                                Chief, Civil Division

                                         By: /s/ Melanie D. Hendry
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